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CASE NO.: CV 18-02285 SJO (AGRx)                         DATE: June 12, 2018
TITLE:          Twelve Sixty, LLC et al v. Discovery, Inc. et al.

========================================================================
PRESENT: THE HONORABLE S. JAMES OTERO, UNITED STATES DISTRICT JUDGE

Victor Paul Cruz                                      Not Present
Courtroom Clerk                                       Court Reporter

COUNSEL PRESENT FOR PLAINTIFF:                        COUNSEL PRESENT FOR DEFENDANTS:

Not Present                                           Not Present

========================================================================
PROCEEDINGS (in chambers): ORDER GRANTING DEFENDANTS' MOTION TO DISMISS
[Docket No. 17]

This matter is before the Court on Defendants Discovery, Inc. and Discovery Communications,
LLC.'s (together, "Defendants") Motion to Dismiss ("Motion"), filed May 14, 2018. Plaintiffs Twelve
Sixty, LLC., Robert J. Marderosian, and Aron M. Marderosian (collectively, "Plaintiffs") opposed
the Motion ("Opposition") on May 23, 2018.1 Defendants replied ("Reply") on May 25, 2018. The
Court found this matter suitable for disposition without oral argument and vacated the hearing set
for June 11, 2018. See Fed. R. Civ. P. 78(b). For the following reasons, the Court GRANTS
Defendants' Motion.

I.        FACTUAL AND PROCEDURAL BACKGROUND

Plaintiffs allege the following in their Complaint, which was filed in this Court on March 20, 2018.
(Compl., ECF No. 1.) Plaintiffs Robert J. Maderosian and Aron M. Marderosian are brothers who
have worked together for almost thirty years. (Compl. ¶ 2, ECF No. 1.) Their business, Twelve
Sixty, LLC., provides musical compositions and productions for use in television, motion pictures,
and other media. (Compl. ¶ 2.) Plaintiffs arranged and produced a master recording of the
traditional song "House of the Rising Sun". (Compl. ¶ 5.) Plaintiffs filed an application for
copyright registration with the United States Copyright Office for the musical composition of
"House of the Rising Sun" ("Copyrighted Material"). (Compl. ¶ 20.) The song was registered on
May 31, 2016 under SR 785-194. (Compl. ¶ 20.) Defendants do not have any license to use the
Copyrighted Material. (Compl. ¶ 23.)




      1
       Per L.R. 7-9, Plaintiffs' Opposition was due no later than 21 days before the hearing date
      set for this motion. The Opposition was therefore due on May 21, 2018. While the Court
      may decline to consider the Opposition per L.R. 7-12, the Court has decided to address the
      Plaintiffs' Opposition in the interest of addressing its merits.
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Defendants created and publicized, or caused to be created and publicized, commercial
advertisements or other media which feature significant portions of the Copyrighted Material
without Plaintiffs' authorization. (Compl. ¶ 6.) In or around February 2018, Plaintiffs became
aware that Defendants consented to and allowed Eurosport to use and infringe upon the
Copyrighted Material. (Compl. ¶ 22.) Defendants conspired with Eurosport to continue using the
Copyrighted Material. (Compl. ¶ 22.) Defendants owned and controlled Eurosport which
constitutes control over the alleged infringement. (Compl. ¶ 21.) Defendants have infringed on
the Copyrighted Material in violation of 17 U.S.C. §§ 106 and 501. (Compl. ¶ 26.) Defendants
authorized, understood, and enabled one another to use Plaintiffs' song, and Plaintiffs believe, "on
information and belief", that Defendants have benefitted from the illegal exploitation of the
Copyrighted Material. (Compl. ¶¶ 35-36.) The acts of infringement occurred in the State of
California. (Compl. ¶ 10.) Defendants' conduct caused enormous and irreparable harm to
Plaintiffs. (Compl. ¶ 7.)

II.      DISCUSSION

               1.       Legal Standard

Under Rule 12(b)(6), an action may be dismissed for "failure to state a claim upon which relief can
be granted." Fed. R. Civ. P. 12(b)(6). Dismissal is appropriate if the plaintiff does not allege
“enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550
U.S. 544, 556 (2007). A claim is facially plausible when the plaintiff pleads facts that “allow the
court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted).

In deciding whether the plaintiff has stated a claim upon which relief can be granted, the Court
accepts the plaintiff's allegations as true and draws all reasonable inferences in favor of the
plaintiff. Usher v. City of Los Angeles, 828 F.2d 556, 561 (9th Cir. 1987). However, the court is
not required to accept as true “allegations that are merely conclusory, unwarranted deductions of
fact, or unreasonable inferences.” In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir.
2008); see also Twombly at 555 (requiring "more than labels and conclusions, and a formulaic
recitation of the elements of a cause of action will not do"). There must be “more than a sheer
possibility that a defendant has acted unlawfully.” Turner v. City & Cty. of San Francisco, 788 F.3d
1206, 1210 (9th Cir. 2015).

               2.       Analysis

Plaintiffs allege two causes of action in the Complaint: (1) copyright infringement in violation of 17
U.S.C. §§ 106 and 105; and (2) civil conspiracy. (See generally Compl.)


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                      A.      Copyright Infringement

Plaintiffs allege Defendants have infringed on the Copyrighted Material. (Compl. ¶ 26.) To prevail
on a claim for copyright infringement, Plaintiffs must demonstrate "(1) ownership of a valid
copyright, and (2) copying of constituent elements of the work that are original."2 L.A. Printex
Indus., Inc. v. Aeropostale, Inc., 676 F.3d 841, 846 (9th Cir. 2012). A plaintiff can establish
copying by showing: (1) the defendant had access to the plaintiff's work and (2) that the two works
are substantially similar. Id. Proof of access requires an opportunity to view or to copy plaintiff's
work. Id.

While Plaintiffs state that Defendants "have created and publicized, or caused to be created or
publicized, advertisements" or media featuring significant portions the Copyrighted Material
(Compl. ¶ 6), nowhere in the Complaint do they allege that the Defendants had access to the
Copyrighted Material. Plaintiffs offer no facts as to how Defendants copied the Copyrighted
Material or how the advertisements or other media allegedly created by Defendants is substantially
similar to the Copyrighted Material. Plaintiffs merely reiterate throughout the Complaint that
Defendants have infringed in a "willful, intentional and purposeful...[and indifferent]" manner.
(Compl. ¶ 27.) Without more facts to show how Defendants have copied the Copyrighted Material
or how their media is substantially similar to the Copyrighted Material, the Plaintiffs' allegations are
merely conclusory statements. The Court therefore need not take them as true when evaluating
this Motion. See In re Gilead at 1055.

Plaintiffs do allege that Defendants "owned and controlled Eurosport" and that they allowed
Eurosport to use and infringe upon the Copyrighted Material. (Compl. ¶¶ 21-22.) Eurosport is not
a defendant in this case. It is unclear what cause of action Plaintiffs are alleging with these facts.
However, the Court must construe the Complaint liberally in favor of the Plaintiff. Jenkins v.
McKeithen, 395 U.S. 411, 421 (1969). Therefore, the Court assumes that Plaintiffs intended to
allege a theory of secondary liability. For secondary infringement liability, Plaintiffs would have
to bring a claim for either contributory infringement liability or vicarious infringement liability. "One
infringes contributorily by intentionally inducing or encouraging direct infringement, and infringes
vicariously by profiting from direct infringement while declining to exercise a right to stop or limit
it." Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 930 (2005) (citations
omitted). However, secondary liability for copyright infringement does not exist in the absence of
direct infringement by a third party. Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1169
(9th Cir. 2007). The Court must therefore analyze Eurosport's potential infringement as pleaded
in the Complaint.


   2
     Defendants argue that Plaintiffs do not allege any infringing conduct occurring within the
   United States. (Mot. 3-4.) While Plaintiffs do state that acts of infringement occurred within
   the state of California, as described below, it is unclear whether and how any infringement
   has occurred, much less infringement in California.
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 When ruling on a Motion to Dismiss, the Court may consider the Complaint, documents attached
to the complaint, documents incorporated by reference in the Complaint, or matters of judicial
notice. United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003). Documents may be
incorporated into the Complaint by reference if the plaintiff refers extensively to the document or
the document forms the basis of the plaintiff's claim. Id.

Plaintiffs do not mention who or what Eurosport is anywhere in the Complaint or in any supporting
exhibits. (See generally Compl.) Plaintiffs also fail to mention how Eurosport had access to the
Copyrighted Material or copied substantial parts of it to constitute copyright infringement. In fact,
other than stating that Eurosport "use[d] and infringe[d] upon" the Copyrighted Material, Plaintiffs
do not mention Eurosport anywhere else in the Complaint. (See generally Compl.) Plaintiffs thus
failed to allege sufficient facts to establish direct infringement by Eurosport. Consequently,
Plaintiffs have failed to allege sufficient facts that would support any theory of secondary liability
against Defendants. Accordingly, Plaintiffs' claims for copyright infringement must be dismissed.

                         B.   Civil Conspiracy

Plaintiffs also allege Defendants conspired with one another to wrongfully exploit Plaintiffs'
Copyrighted Material. (Compl. ¶ 34.) However, the Copyright Act preempts certain state law
claims. To determine whether a state law claim is preempted by the Copyright Act, the Ninth
Circuit looks to see if: (1) the rights that a plaintiff asserts under state law are equivalent to those
protected by the Copyright Act and (2) the work involved must fall within the “subject matter” of
the Copyright Act. Kodadek v. MTV Networks, Inc., 152 F.3d 1209, 1212 (9th Cir. 1998). To form
their civil conspiracy claim, Plaintiffs largely just reiterate conclusory statements that Defendants
conspired with one another and "authorized...and enabled" one another to exploit the Copyrighted
Material. (Compl. ¶ 35.) The basis for Plaintiffs' conspiracy claim seems to be substantially the
same as for their copyright claim, i.e. Defendants infringed upon or helped Eurosport infringe upon
the Copyrighted Material. "The Copyright Act already 'recognizes the concepts of contributory
infringement and vicarious copyright infringement.... In light of these concepts, which extend joint
and several liability to those who participate in the copyright infringement ... [a] civil conspiracy
claim does not add substantively to the underlying federal copyright claim and should therefore
be preempted.'" Benke v. Departure Agency, Inc., No. CV 11-397-VBF(VBKX), 2011 WL
13129964, at *2 (C.D. Cal. Aug. 11, 2011). The Copyright Act thus preempts the civil conspiracy
claim, and it must also be dismissed.




III.      RULING



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For the foregoing reasons, the Court GRANTS Defendants' Motion to Dismiss. Plaintiffs may file
an amended Complaint within ten (10) days of the date of this Order. Defendants must respond
ten (10) days thereafter.

IT IS SO ORDERED.




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